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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. CR10-255-TSZ
 8

 9                                 Plaintiff,

10          v.
                                                          DETENTION ORDER
11   RAFAEL CHAVEZ,
12
                                   Defendant.
13

14   Offenses charged:
15          Count 1:              Conspiracy to Distribute Heroin, in violation of 21 U.S.C. §§
                                  841(a)(1), 841(b)(1)(A) and 846
16

17          Count 2-5, 7-10:      Distribution of Heroin, in violation of 21 U.S.C., §§ 841(a)(1) and
                                  841 (b)(1)(C)
18
            Count 6:              Distribution of Cocaine, in violation of 21 U.S.C. 841(a)(1) and
19                                841(b)(1)(C)
20   Date of Detention Hearing: November 9, 2010
21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
22   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
25                  defendant is a flight risk and a danger to the community based on the nature of
26                  the pending charges. Application of the presumption is appropriate in this case.


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           2.    Defendant is a citizen of Mexico.
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           3.    An immigration detainer has been placed on defendant by the United States
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                 Immigration and Customs Enforcement.
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           4.    Defendant has stipulated to detention, but reserves the right to contest his
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                 continued detention if there is a change in circumstances.
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           5.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
 8
                 safety of the community.
 9
           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
11
                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
20
           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
22
                 Pretrial Services Officer.
23
           DATED this 9th day of November, 2010.


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25
                                                JAMES P. DONOHUE
26                                              United States Magistrate Judge

     DETENTION ORDER
     18 U.S.C. § 3142(i)
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